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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                             HELENA DIVISION


 UNITED STATES OF AMERICA,

                    Plaintiff,           6:21-po-5038-KLD

 vs.
                                         ORDER DISMISSING
 DAVID O. LIETZ,

                    Defendant.



       Based on the United States’ motion, and good cause appearing,

       IT IS ORDERED that the above-referenced case is dismissed and all future

court dates are vacated.

             DATED this 2nd day of December, 2021



                                            Kathleen L. DeSoto
                                            United States Magistrate Judge
